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                          UNITED STATES DISTRICT COURT
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                        CENTRAL DISTRICT OF CALIFORNIA
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 11 LIGHTSTORM ENTERTAINMENT,                  Case No. 2:20-CV-8044-ODW (PVCx)
      INC. ET AL.,
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 13
                      PlaintiffS,              JUDGMENT
 14         v.
 15 STEPHEN CUMMINGS,
 16                   Defendant.
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  1                                       JUDGMENT
  2        In light of the Court’s Order GRANTING Plaintiffs’ Motion for Summary
  3   Judgment, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:
  4        1. The July 3 UCC-1 and July 29 UCC-1 are declared false, fraudulent, invalid,
  5           null, void, and of no legal effect;
  6        2. Cummings shall withdraw the July 3 UCC-1 and July 29 UCC-1 along with
  7           all accompanying affidavits and exhibits; and
  8        3. Cummings is permanently enjoined from filing or recording any document of
  9           any description, including UCC-1s, which purport to create a debt, lien, or
 10           record of any kind against the person or property of the Studios, without the
 11           prior order of the Court.
 12
 13        IT IS SO ORDERED.
 14
 15        April 27, 2021
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 17                               ____________________________________
 18                                        OTIS D. WRIGHT, II
                                   UNITED STATES DISTRICT JUDGE
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